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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA : SEALED ORDER
- Ve. > : S119 Cr. 364 (RMB)
REDHWAN ALZANAM,

Defendant.

WHEREAS, with the defendant’s consent, his guilty plea
allocution was made before a United States Magistrate Judge on
Octeber 17, 2019;

WHEREAS, a transcript of the allocution was made and
thereafter was transmitted to the District Court; and

| WHEREAS, upon review of that transcript, this Court
has determined that the defendant entered the guilty plea
knowingly and voluntarily and that there was a factual basis for
the guilty plea;

TT IS HEREBY ORDERED that the defendant’s guilty plea

is accepted; and

 

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IT IS FURTHER ORDERED that this order be filed under
seal with delayed docketing, pending further order of the Court.

Dated: New York, New York
October sf , 2019

SO ORDERED:

CME

HONORABLE RICHARD M. BERMAN
UNITED STATES DISTRICT JUDGE
SOUTHERN DISTRICT OF NEW YORK

 
